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         EXHIBIT 123
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                                                                                  Page 1
                           UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         ______________________________
         RICHARD KADREY, et al.,                        )
         Individual and Representative )
         Plaintiffs,                                    )    CASE NO.
                                                        )    3:23-cv-03417-
                      -against-                         )    VC
         META PLATFORMS, INC.,                          )
                                     Defendant.         )
         ______________________________)


         HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


            Videotaped Deposition of Lyle Ungar
                Philadelphia, Pennsylvania
             Wednesday, February 26, 2025
               Reported Stenographically by
            Jennifer Miller, RMR, CRR, CSR No. 14652




         _________________________________________________
                                DIGITAL EVIDENCE GROUP
                           1730 M Street, NW, Suite 812
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                                      (202) 232-0646


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                                                                                   Page 114
  1   is can you take the training data -- can you                                    11:43:33

  2   take the weights in a neural net and                                            11:43:37

  3   reconstruct the training data?                                                  11:43:39

  4                     That is also definitely not                                   11:43:40

  5   possible.                                                                       11:43:43

  6         Q.     Okay.                                                              11:43:44

  7         A.     Again, modulo, minor -- you know, in                               11:43:46

  8   rare, rare occasions you may be able to                                         11:43:50

  9   reproduce little pieces of it.                                                  11:43:53

 10         Q.     Understood.                                                        11:43:54

 11                        And you, in fact, conducted some                           11:43:54

 12   of those experiments yourself, right, in the                                    11:43:58

 13   process of your expert work in this case,                                       11:44:00

 14   right?                                                                          11:44:05

 15                        ATTORNEY MORTON:    Object to                              11:44:06

 16         form.                                                                     11:44:06

 17                        THE WITNESS:   I constructed some                          11:44:09

 18         experiments.       I'm not sure what "those"                              11:44:10

 19         means there.      But I conducted experiments,                            11:44:14

 20         yes.                                                                      11:44:15

 21   BY ATTORNEY YOUNG:                                                              11:44:16

 22         Q.     Okay.    And including testing for                                 11:44:16

 23   whether or not the Llama models or certain of                                   11:44:17

 24   the Llama models that you tested were able to                                   11:44:19

 25   continue passages of tokens from certain works                                  11:44:22




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                                                                                    Page 115
  1   that you fed into the model, correct?                                            11:44:28

  2         A.   Correct.                                                              11:44:36

  3         Q.   Okay.       And just to be clear, you did,                            11:44:36

  4   indeed, find that it was able to continue at                                     11:44:37

  5   least for some token lengths, right?                                             11:44:43

  6                      ATTORNEY MORTON:       Object to                              11:44:45

  7         form.                                                                      11:44:45

  8                      THE WITNESS:      What I found was                            11:44:46

  9         an average for each book, one short                                        11:44:46

 10         passage of roughly 50 tokens could, with                                   11:44:52

 11         some statistical probability, be                                           11:44:57

 12         reconstructed under these specialized                                      11:44:59

 13         circumstances designed to make it as easy                                  11:45:02

 14         as possible to reconstruct them.                                           11:45:05

 15   BY ATTORNEY YOUNG:                                                               11:45:07

 16         Q.      And you report averages in your                                    11:45:07

 17   report, right?                                                                   11:45:12

 18         A.      I report several different averages.                               11:45:14

 19   I'm not quite sure what you're referring to.                                     11:45:17

 20                      Which averages?                                               11:45:19

 21         Q.      I'll clarify that in a bit.                                        11:45:22

 22                      So if we were to turn -- can you                              11:45:27

 23   please turn to paragraph 90 of your opening                                      11:45:34

 24   report, please?                                                                  11:45:37

 25         A.      Sorry.    9-0?                                                     11:45:38




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                                                                               Page 353
   1                               CERTIFICATE
   2                    I HEREBY CERTIFY that the
   3         proceedings, evidence and objections are
   4         contained fully and accurately in the
   5         stenographic notes taken by me upon the
   6         deposition of Lyle Ungar, taken on
   7         2/26/25 and that this is a true and correct
   8         transcript of same.
   9
 10
 11
 12                             _______________________________
 13                             Jennifer Miller, RMR, CCR, CRR
 14                             and Notary Public
 15
 16
 17
 18
 19
 20
 21                     (The foregoing certification of
 22          this transcript does not apply to any
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